Mr. Randy Mauk c/o Lonoke Police Department 203 West Front Lonoke, AR 72086
Dear Mr. Mauk:
This is in response to your letter dated May 7, 2002, in which you state that you object to the disclosure of records in your personnel file that are responsive to a request made under the Freedom of Information Act (FOIA) (A.C.A. § 25-19-101 et seq.).
I am directed by law to issue my opinion as to whether the custodian's determination regarding the release of this file is consistent with the FOIA. A.C.A. § 25-19-105(c)(3)(B).
Please note that I have enclosed a copy of Op. Att'y Gen. 2002-150, issued to Lonoke Police Chief Janice Jones, that addresses your concerns.
Sincerely,
MARK PRYOR Attorney General
MP/cyh
Enclosure